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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:14-CR-69
                                           :
             v.                            :   (Judge Conner)
                                           :
EUGENE STALLINGS, JR.,                     :
                                           :
                    Defendant              :

                                       ORDER

      AND NOW, this 26th day of March, 2021, upon consideration of defendant’s

motion (Doc. 450) to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

§ 2255, and the parties’ respective briefs in support of and opposition to said motion,

and for the reasons set forth in the accompanying memorandum, it is hereby

ORDERED that:

      1.     The motion (Doc. 450) is DENIED.

      2.     A certificate of appealability is DENIED. See 28 U.S.C. § 2255 Rule
             11(a).

      3.     The Clerk of Court is directed to close the corresponding civil case
             number 1:18-CV-1264.


                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania
